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DEFENDANT STATUS SHEET
(One for each defendant)

L CASE STATUS

Name of Defendant: ALAN GOMEZ-MARENTES

Has defendant had initial appearance in this case? Yes [| No

MJ CR 20-092 JCC-1

Il. CUSTODIAL STATUS
If defendant had initial appearance, please check one of the following:

[ | Continue Conditions of Release

Continue Detention

[| Temporary Detention, a detention hearing has been scheduled for

UI. ARRAIGNMENT
[| Warrant to Issue (If so, please complete Defendant Arrest Warrant Info Sheet)
| C1 Summons to be Issued for Appearance on
Defendant’s Address:
Letter to Defense Counsel for Appearance on April 8, 2021 at 9 am

Defense Attorney’s Name and address: Bob Goldsmith

The estimated trialtime is 10 days.
(Revised March 2018)

 
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DEFENDANT STATUS SHEET
(One for each defendant)

I. CASE STATUS

Name of Defendant: JUAN ANTONIO GONZALEZ-CARRILLO
Has defendant had initial appearance in this case? [| Yes No

MJ CR 20-092 JCC-2

Il. CUSTODIAL STATUS
If defendant had initial appearance, please check one of the following:
[| Continue Conditions of Release

[| Continue Detention

[| Temporary Detention, a detention hearing has been scheduled for

Ii. ARRAIGNMENT
Warrant to Issue (If so, please complete Defendant Arrest Warrant Info Sheet)
[| Summons to be Issued for Appearance on |
Defendant’s Address:
[ Letter to Defense Counsel for Appearance on

Defense Attorney’s Name and address:

The estimated trial time is 10 days.
(Revised March 2018)

 
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DEFENDANT STATUS SHEET
(One for each defendant)

IL CASE STATUS

Name of Defendant: LUIS ARTURO MAGANA-RAMIREZ

Has defendant had initial appearance in this case? Yes [ | No

MJ | CR 20-092 JCC-3

Il. CUSTODIAL STATUS
If defendant had initial appearance, please check one of the following:

[| Continue Conditions of Release

Continue Detention

[| Temporary Detention, a detention hearing has been scheduled for

Ii. ARRAIGNMENT
[ Warrant to Issue (If so, please complete Defendant Arrest Warrant Info Sheet)
[] Summons to be Issued for Appearance on
Defendant’s Address:
Letter to Defense Counsel for Appearance on April 8, 2021 at 9 am

Defense Attorney’s Name and address: Michael Martin

The estimated trial time is 10 days.
(Revised March 2018)

 
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DEFENDANT STATUS SHEET

(One for each defendant)

I. CASE STATUS

Name of Defendant: JOSE ELIAS BARBOSA

Has defendant had initial appearance in this case? Yes [| No

MJ CR 20-092 JCC-4

Il. CUSTODIAL STATUS
If defendant had initial appearance, please check one of the following:

[| Continue Conditions of Release

Continue Detention

[| Temporary Detention, a detention hearing has been scheduled for

Il. ARRAIGNMENT
[| Warrant to Issue (If so, please complete Defendant Arrest Warrant Info Sheet)
[| Summons to be Issued for Appearance on
Defendant’s Address:

Letter to Defense Counsel for Appearance on April 8, 2021 at 9 am

Defense Attorney’s Name and address: Michael Shaw

The estimated trial time is 10 days.
(Revised March 2018)

 
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DEFENDANT STATUS SHEET

(One for each defendant)

I. CASE STATUS

Name of Defendant: JOSE DANIEL ESPINOZA
Has defendant had initial appearance in this case? Yes [| No

MJ CR 20-092 JCC-5

Il. CUSTODIAL STATUS —
If defendant had initial appearance, please check one of the following:
[ Continue Conditions of Release

Continue Detention

[ Temporary Detention, a detention hearing has been scheduled for

Til. ARRAIGNMENT
[| Warrant to Issue (If so, please complete Defendant Arrest Warrant Info Sheet)
[| Summons to be Issued for Appearance on
Defendant’s Address:

Letter to Defense Counsel for Appearance on April 8, 2021 at 9 am

Defense Attorney’s Name and address: Scott Engelhard

The estimated trial time is 10 days.
(Revised March 2018)

 
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DEFENDANT STATUS SHEET

(One for each defendant)

I CASE STATUS

Name of Defendant: ESTEFHANY COREA-MENDOZA

Has defendant had initial appearance in this case? Yes [| No

MJ CR 20-092 JCC-6

II. CUSTODIAL STATUS
If defendant had initial appearance, please check one of the following:
[| Continue Conditions of Release

Continue Detention

[| Temporary Detention, a detention hearing has been scheduled for

Til. ARRAIGNMENT
[| Warrant to Issue (If so, please complete Defendant Arrest Warrant Info Sheet)
[| Summons to be Issued for Appearance on
Defendant’s Address:
Letter to Defense Counsel for Appearance on April 8, 2021 at 9 am

Defense Attorney’s Name and address: Paula Olson

The estimated trial time is 10 days.
(Revised March 2018)

 
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DEFENDANT STATUS SHEET
(One for each defendant)

I. CASE STATUS

Name of Defendant: ADRIAN IZAZAGA-MARTINEZ

Has defendant had initial appearance in this case? Yes [ | No

MJ CR 20-092 JCC-7

II. CUSTODIAL STATUS
If defendant had initial appearance, please check one of the following:

[| Continue Conditions of Release

Continue Detention

[| Temporary Detention, a detention hearing has been scheduled for

TW. ARRAIGNMENT
[| Warrant to Issue (If so, please complete Defendant Arrest Warrant Info Sheet)
[| Summons to be Issued for Appearance on
Defendant’s Address:
Letter to Defense Counsel for Appearance on April 8, 2021 at 9 am

Defense Attorney’s Name and address: Phil Brennan

The estimated trial time is 10 days.
(Revised March 2018)

 
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DEFENDANT STATUS SHEET

(One for each defendant)

I. CASE STATUS

Name of Defendant: JORGE MONDRAGON

Has defendant had initial appearance in this case? Yes [| No

MJ CR 20-092 JCC-8

II. CUSTODIAL STATUS
If defendant had initial appearance, please check one of the following:

[ | Continue Conditions of Release

Continue Detention

[| Temporary Detention, a detention hearing has been scheduled for

Il. ARRAIGNMENT
[ | Warrant to Issue (If so, please complete Defendant Arrest Warrant Info Sheet)
[ | Summons to be Issued for Appearance on
Defendant’s Address:

Letter to Defense Counsel for Appearance on April 8, 2021 at 9 am

Defense Attorney’s Name and address: Tom Coe

The estimated trial time is 10 days.
(Revised March 2018)

 
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DEFENDANT STATUS SHEET
(One for each defendant)

I. CASE STATUS

Name of Defendant: BENJAMIN FUENTES

Has defendant had initial appearance in this case? Yes [| No

MJ CR 20-092 JCC-9

II. CUSTODIAL STATUS
If defendant had initial appearance, please check one of the following:

[| Continue Conditions of Release

Continue Detention

[| Temporary Detention, a detention hearing has been scheduled for

Il. ARRAIGNMENT
[| Warrant to Issue (If so, please complete Defendant Arrest Warrant Info Sheet)
[| Summons to be Issued for Appearance on
Defendant’s Address:

Letter to Defense Counsel for Appearance on April 8, 2021 at 9 am

Defense Attorney’s Name and address: Timothy R Lohraff

The estimated trial time is 10 days.
(Revised March 2018)

 
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DEFENDANT STATUS SHEET
(One for each defendant)

I CASESTATUS

Name of Defendant: LUIS ZAVALZA-SANCHEZ

Has defendant had initial appearance in this case? Yes [ No

MJ CR 20-092 JCC-10

Il. CUSTODIAL STATUS
If defendant had initial appearance, please check one of the following:
t] Continue Conditions of Release

Continue Detention

[| Temporary Detention, a detention hearing has been scheduled for

Il. ARRAIGNMENT
[| Warrant to Issue (If so, please complete Defendant Arrest Warrant Info Sheet)
[| Summons to be Issued for Appearance on —
Defendant’s Address:
Letter to Defense Counsel for Appearance on April 8, 2021 at 9 am

Defense Attorney’s Name and address: Brent Hart

The estimated trial time is 10 days.
(Revised March 2018)

 
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DEFENDANT STATUS SHEET

(One for each defendant)

I CASE STATUS

Name of Defendant: ALYSHA JONES
Has defendant had initial appearance in this case? [| Yes No

MJ CR 20-092 JCC-11

Il. CUSTODIAL STATUS
If defendant had initial appearance, please check one of the following:
[|] Continue Conditions of Release

[| Continue Detention

[ | Temporary Detention, a detention hearing has been scheduled for

Il. ARRAIGNMENT
Warrant to Issue (If so, please complete Defendant Arrest Warrant Info Sheet)
[| Summons to be Issued for Appearance on
Defendant’s Address:
[ Letter to Defense Counsel for Appearance on

Defense Attorney’s Name and address:

The estimated trial time is 10 days.
(Revised March 2018)

 
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DEFENDANT STATUS SHEET

(One for each defendant)

L CASE STATUS |

Name of Defendant: ARMANDO FIERRO-PONCE

Has defendant had initial appearance in this case? Yes [| No

MJ CR 20-092 JCC-12

II. CUSTODIAL STATUS
If defendant had initial appearance, please check one of the following:

[| Continue Conditions of Release

Continue Detention

[| Temporary Detention, a detention hearing has been scheduled for

Ii. ARRAIGNMENT
[| Warrant to Issue (If so, please complete Defendant Arrest Warrant Info Sheet)
[ | Summons to be Issued for Appearance on
Defendant’s Address:
Letter to Defense Counsel for Appearance on April 8, 2021 at 9 am

Defense Attorney’s Name and address: Cathy Gormley

The estimated trialtime is 10 days.
(Revised March 2018)

 
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DEFENDANT STATUS SHEET
(One for each defendant)

I. CASE STATUS

Name of Defendant: AMANDA MEYER
Has defendant had initial appearance in this case? Yes [| No

MJ CR 20-092 JCC-13

Il. CUSTODIAL STATUS
If defendant had initial appearance, please check one of the following:
Continue Conditions of Release

[ | Continue Detention

[| Temporary Detention, a detention hearing has been scheduled for

I. ARRAIGNMENT
[| Warrant to Issue (If so, please complete Defendant Arrest Warrant Info Sheet)
[|] Summons to be Issued for Appearance on
Defendant’s Address:

Letter to Defense Counsel for Appearance on April 8, 2021 at 9 am

Defense Attorney’s Name and address: Teymur Askerov/Chris Black

The estimated trial time is 10 days.
(Revised March 2018)

 
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DEFENDANT STATUS SHEET

(One for each defendant)

I. CASE STATUS

Name of Defendant: MICHAEL ANDREW WOOD
Has defendant had initial appearance in this case? [| Yes No

MJ CR 20-092 JCC-14

Il. CUSTODIAL STATUS
If defendant had initial appearance, please check one of the following:
[_] Continue Conditions of Release

[| Continue Detention

[| Temporary Detention, a detention hearing has been scheduled for

I. ARRAIGNMENT
Warrant to Issue (If so, please complete Defendant Arrest Warrant Info Sheet)
[|] Summons to be Issued for Appearance on
Defendant’s Address:
[| Letter to Defense Counsel for Appearance on

Defense Attorney’s Name and address:

The estimated trialtime is 10 days.
(Revised March 2018)

 
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DEFENDANT STATUS SHEET
(One for each defendant)

I. CASE STATUS

Name of Defendant: LUIS CASTILLO-BARRAGAN

Has defendant had initial appearance in this case? Yes [| No

MJ CR 20-092 JCC-15

Il. CUSTODIAL STATUS
If defendant had initial appearance, please check one of the following:
Continue Conditions of Release

[ | Continue Detention

[ | Temporary Detention, a detention hearing has been scheduled for

Til. ARRAIGNMENT
[ | Warrant to Issue (If so, please complete Defendant Arrest Warrant Info Sheet)
[ | Summons to be Issued for Appearance on
Defendant’s Address:

Letter to Defense Counsel for Appearance on

Defense Attorney’s Name and address: James Feldman

The estimated trialtime is 10 days.
(Revised March 2018)

 
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DEFENDANT STATUS SHEET

(One for each defendant)

I. CASE STATUS

Name of Defendant: EFRAIN LUNA-RODRIGUEZ

Has defendant had initial appearance in this case? Yes [| No

MJ CR 20-092 JCC-16
PER MLE on 7-31-20 Defendant arrested and released in CA.

Il. CUSTODIAL STATUS
If defendant had initial appearance, please check one of the following:
Continue Conditions of Release

[| Continue Detention

[| Temporary Detention, a detention hearing has been scheduled for

I. ARRAIGNMENT
[| Warrant to Issue (If so, please complete Defendant Arrest Warrant Info Sheet)
[|] Summons to be Issued for Appearance on
Defendant’s Address:
Letter to Defense Counsel for Appearance on April 8, 2021 at 9 am

Defense Attorney’s Name and address: Robert Gombiner

The estimated trialtime is 10 days.
(Revised March 2018)

 
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DEFENDANT STATUS SHEET

(One for each defendant)

I. CASE STATUS

Name of Defendant: JULIAN PINEDA-CASILLAS
Has defendant had initial appearance in this case? [| Yes No

MJ CR 20-092 JCC-17

Il. CUSTODIAL STATUS
If defendant had initial appearance, please check one of the following:
[| Continue Conditions of Release

[| Continue Detention

[| Temporary Detention, a detention hearing has been scheduled for

I. ARRAIGNMENT
Warrant to Issue (If so, please complete Defendant Arrest Warrant Info Sheet)
| [_] Summons to be Issued for Appearance on
Defendant’s Address:
[] Letter to Defense Counsel for Appearance on

Defense Attorney’s Name and address:

The estimated trial time is 10 days. .
(Revised March 2018)

 
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DEFENDANT STATUS SHEET

(One for each defendant)

I. CASE STATUS

Name of Defendant: BLANCA GABRIELLA MEDINA
Has defendant had initial appearance in this case? Yes [ | No

MJ CR 20-092 JCC-18

II. CUSTODIAL STATUS
If defendant had initial appearance, please check one of the following:
Continue Conditions of Release

[| Continue Detention

[| Temporary Detention, a detention hearing has been scheduled for

Il. ARRAIGNMENT
[| Warrant to Issue (If so, please complete Defendant Arrest Warrant Info Sheet)
[| Summons to be Issued for Appearance on
Defendant’s Address:

Letter to Defense Counsel for Appearance on April 8, 2021 at 9 am

Defense Attorney’s Name and address: Nicholas Marci

The estimated trial time is 10 days.
(Revised March 2018)

 
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DEFENDANT STATUS SHEET
(One for each defendant)

I. CASE STATUS

Name of Defendant: RUTH GOMEZ-MARENTES
Has defendant had initial appearance in this case? Yes [| No

MJ CR 20-092 JCC-19

Il. CUSTODIAL STATUS |
If defendant had initial appearance, please check one of the following:
Continue Conditions of Release

[ | Continue Detention

[ | Temporary Detention, a detention hearing has been scheduled for

I. ARRAIGNMENT
[ | Warrant to Issue (If so, please complete Defendant Arrest Warrant Info Sheet)
[ | Summons to be Issued for Appearance on
Defendant’s Address:

Letter to Defense Counsel for Appearance on April 8, 2021 at 9 am

Defense Attorney’s Name and address: Peter Camiel

The estimated trialtime is 10 days.
(Revised March 2018)

 
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DEFENDANT STATUS SHEET

(One for each defendant)

I. CASE STATUS

Name of Defendant: ADRIAN SIMS

Has defendant had initial appearance in this case? Yes [| No

MJ CR 20-092 JCC-20

Il. CUSTODIAL STATUS
If defendant had initial appearance, please check one of the following:

[| Continue Conditions of Release

Continue Detention

[| Temporary Detention, a detention hearing has been scheduled for 7/31 1:00 pm BAT

Ill. ARRAIGNMENT
[| Warrant to Issue (If so, please complete Defendant Arrest Warrant Info Sheet)
[| Summons to be Issued for Appearance on
Defendant’s Address:

Letter to Defense Counsel for Appearance on April 8, 2021 at 9 am

Defense Attorney’s Name and address: Lisa Mulligan

The estimated trialtime is 10 days.
, (Revised March 2018)

 
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DEFENDANT STATUS SHEET
(One for each defendant)

I. CASE STATUS

Name of Defendant: EDGAR LUNA-GARCIA
Has defendant had initial appearance in this case? Yes [| No

MJ 20-470 CR 20-092 JCC

II. CUSTODIAL STATUS
If defendant had initial appearance, please check one of the following:

[| Continue Conditions of Release

Continue Detention

[ | Temporary Detention, a detention hearing has been scheduled for

I. ARRAIGNMENT
[ | Warrant to Issue (If so, please complete Defendant Arrest Warrant Info Sheet)
[ | Summons to be Issued for Appearance on
Defendant’s Address:
Letter to Defense Counsel for Appearance on April 78, 2021 at 9 am

Defense Attorney’s Name and address: Tom Weaver

The estimated trial time is 10 days:
: , (Revised March 2018)

 
